        Case 1:20-cv-00889-MAD-TWD Document 15 Filed 10/21/20 Page 1 of 2




                                        STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

  LETITIA JAMES                                                                        DIVISION OF SOCIAL JUSTICE
 ATTORNEY GENERAL                                                                            CHARITIES BUREAU

                                                                                             212.416.8965
                                                                                       Monica.Connell@ag.ny.gov

BY ECF                                                                       October 21, 2020

Hon. Mae A. D’Agostino
United States District Judge
James T. Foley U.S. Courthouse
445 Broadway
Albany, New York 12207

                  Re:    NRA v. James, NDNY Case No. 20-cv-889

Dear Judge D’Agostino:

        The Office of the Attorney General (“OAG”) represents Letitia James, Attorney General

of the State of New York in the above-referenced action. Pursuant to the Court’s Individual

Rules and Practices, the OAG seeks to have until November 20, 2020 to submit a response to

Plaintiff National Rifle Association of America, Inc.’s Amended Complaint, dated October 9,

2020.

        This is the first request for an extension, the Court has already granted OAG leave to file

a motion to dismiss and Plaintiff consented to this request last Friday. We note that today that

the NRA has filed an application to transfer this case for pre-trial proceedings to the federal

Multi-District Litigation Panel, and ultimately to the Northern District of Texas, pursuant to 15

U.S.C. § 1407. At this time, we intend to proceed with our motion to dismiss, which will

establish that the NRA’s Amended Complaint is subject to dismissal in its entirety as a matter of

law and will obviate the transfer application.


                  28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8401 ● WWW.AG.NY.GOV
               Case 1:20-cv-00889-MAD-TWD Document 15 Filed 10/21/20 Page 2 of 2
Page 2                                                                                                August 31, 2020


               In light of the foregoing, OAG respectfully requests that the Attorney General’s time to

         move to dismiss the Amended Complaint be extended until November 20, 2020.

                                                                                     Respectfully,

                                                                                     /s Monica Connell
                                                                                     Monica Connell
                                                                                     Assistant Attorney General
         cc:   All Counsel (via ECF)




               28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8401 ● FAX (212) 416-8393 ● WWW.AG.NY.GOV
